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     Email: clarisse@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                        UNITED STATES BANKRUPTCY COURT
 7                           FOR THE DISTRICT OF NEVADA

 8                                                     Case No. 21-14486-abl
     In re:                                            Chapter 7
 9

10   INFINITY CAPITAL MANAGEMENT, INC.
     dba INFINITY HEALTH CONNECTIONS,                  NOTICE OF ENTRY OF ORDER
11
                         Debtor.
12

13

14            PLEASE TAKE NOTICE that an order, which is attached hereto, was entered in the
15   above-captioned matter.
16

17
     DATED: November 8, 2021                   ATKINSON LAW ASSOCIATES LTD.
18
                                               By:         /s/ Clarisse Crisostomo
19
                                                     CLARISSE L. CRISOSTOMO, ESQ.
20
                                                     Nevada Bar No. 15526
                                                     Attorney for Robert E. Atkinson, Trustee
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                                                                                          2




  1

  2

  3

  4   Entered on Docket
___________________________________________________________________
    November 08, 2021
  5

  6

  7

  8
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 13                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEVADA
 14

 15                                                           Case No. 21-14486-abl
         In re:                                               Chapter 7
 16

 17
         INFINITY CAPITAL MANAGEMENT, INC.                    ORDER ON
         dba INFINITY HEALTH CONNECTIONS,                     APPLICATION TO EMPLOY
 18
                             Debtor.                          Hearing Date: November 4, 2021
 19                                                           Hearing Time: 11:00 a.m.
 20

 21
                   The Court reviewed and considered the Trustee’s Application to Employ Atkinson
 22
        Law Associates Ltd. as General Counsel for Trustee [DE #37] (the “Application”). No
 23
        opposition to the Application had been filed.
 24
                   All findings of fact and conclusions of law orally stated by the Court at the hearing
 25
        are incorporated herein pursuant to Fed. R. Civ. P. 52, as made applicable to these proceedings
 26
        via Fed. R. Bankr. P. 9014(c) and 7052.
 27
                   Good cause appearing,
 28



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 1   IT IS HEREBY ORDERED:
 2             1. The Application is granted in full.
 3             2. The Trustee is hereby authorized pursuant to 11 U.S.C. § 327(a) to employ
 4   Atkinson Law Associates Ltd. to render legal services as his general counsel in this bankruptcy
 5   case, effective as of the filing date of the Application.
 6             3. The terms of such employment shall be as described in the Engagement Letter
 7   attached as Exhibit 1 to the Application. Such terms of employment are approved as reasonable
 8   in accordance with 11 U.S.C. § 328(a).
 9   IT IS SO ORDERED.
10                                                # # # # #
11   Respectfully submitted by:
12
     ATKINSON LAW ASSOCIATES LTD.
13
        /s/ Clarisse Crisostomo
14   CLARISSE L. CRISOSTOMO, ESQ.
     Nevada Bar No. 15526
15
     Attorney for Trustee
16

17

18                                     CERTIFICATION re: RULE 9021

19     In accordance with LR 9021, counsel submitting this document certifies that the order
20
       accurately reflects the court’s ruling and that (check one):

21              The court has waived the requirements set forth in LR 9021(b)(1).
22              No other party appeared at the hearing or filed an objection to the motion.
23
               I have delivered a copy of this proposed order to all counsel who appeared at the
24             hearing, and any unrepresented parties who appeared at the hearing, and each has
               approved or disapproved the order, or failed to respond, as indicated below:
25

26             I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
               order with the motion pursuant to LR 9014(g), and that no party has objected to the
27             form or content of the order.
28
                                                     ###

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